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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                            ------------x Case No. 24-cv-005581 (MKV)
BKNS MANAGEMENT LLC, derivatively on
behalf of ABBSON LLC,
                                                            AMENDED COMPLAINT
                                      Plaintiff,

                  - against -

MESSNER REEVES LLP,               CLEARWATER                       JURY TRIAL
PREMIERE PERPETUAL MASTER             LLC,                         DEMANDED
JONATHAN WRIGHT, TORBEN WELCH, and
TITAN FINANCTAL,LLC,




         Plaintiff BKNS Management LLC, for its amended derivative complaint on behalf of

Abbson LLC against defendants Messner Reeves LLP, Clearwater Premiere Perpetual Master

LLC, Jonathan Wright, Torben Welch, and Titan Financial, LLC, alleges as follows:

                                       INTRODUCTION

         1.       Plaintiff BKNS Management LLC, a member of Abbson LLC ("Abbson"), brings

this action on behalf of Abbson against defendants arising from their orchestration and

implementation of a massive fraudulent scheme against Abbson and others in violation of the

Racketeer lnfluenced and ComrptOrganizations Act, 18 U.S.C. $ 1961 et seq. ("RICO"), and

state and common law, by which defendants unlawfully appropriated and converted millions of

dollars from Abbson and other victims of defendants' fraudulent scheme.
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          2.   The fraud perpeffated by defendants involved their establishment of a shell

company to act as a purported lender to companies like Abbson in dire need of funds to operate

their businesses and who were fraudulently induced to enter into purported multi-million dollar

loan arrangements. The victim's entitlement to loan proceeds was conditioned upon the victim

remitting substantial funds to the so-called lender as an Interest Credit Account ("ICA")

Payment, ostensibly for purposes of satisffing interest payments under the loan agreement with

the lender. The lender was to commence remitting the loan proceeds to the victim within 90 days

following receipt of the ICA Payment. tn the case of Abbson, Abbson made this ICA Payment in

the amount of $3.5 million conditioned upon receiving a $14 million loan from the supposed

lender.

          3.    Abbson, Iike the other victims of defendants' fraudulent scheme, while remitting

the ICA payment, never received any of the loan proceeds. The ICA Payment was disbursed to

defendants and was never returned to the victim. A key player in this scheme is defendant

Messner Reeves LLP, anational law firm. Messner first received the ICA Payments in the
                                                                                              firm's

escrow or trust account, and then funneled the ICA Payments to another account in a different

state, where it would be distributed to defendants. There was never any intention of having
                                                                                              the


loan funded or the ICA payment returned. In response to repeated demands for payment of the

loan proceeds, defendants manufactured excuses for delaying the funding of the loans, thereby

allowing defendants to dissipate the ICA Payment.

          4.    After not receiving any loan proceeds for more than half ayear (when the

proceeds were to have commenced 90 days after the remittance of the ICA Payment), Abbson

sent a termination notice to the lender in order to get back its ICA Payment, but it was never
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returned-just as defendants intended.

       5.      All of the foregoing steps in the fraudulent scheme-the entering into of a

fraudulent loan or credit agreement, the receipt of millions of dollars in the form of so-called ICA

Payments, the failure to fund the loan, the failure to retum the ICA Payments, and the

disappearance of the ICA Payment deposits from escrow that were initially held by defendant

Messner Reeves in its trust or escrow account-were all pan of the fraudulent scheme concocted

by defendants for the purpose of stealing funds from unwitting victims like Abbson. Each of

these multi-victim episodes was identical in design and implementation. None of the victims,


like Abbson, received all of the loan proceeds or had their ICA Payments returned. Defendants

kept the funds as they had intended to do all along.

       6.      The purported loan was a sham aD initio. The loan proceeds were to have been

forthcoming from the supposed lender, INBE Capital LLC ("INBE"), u Wyoming limited

liability company that is nothing more than a shell-company set up by defendants to facilitate

their fraudulent scheme. INBE was formed in September 2022, only nine months before the

loan agreement with Abbson was made, and five to nine months before the other victims of

defendants' fraud parted with their money, from April to August 2023.

       7.      INBE's website contained many false statements regarding the deals it closed and

the capital it possessed. INBE's website contains false information and remains active to this

day, continuing to lure unwitting companies in need of cash to sustain their operations but which

in reality have no hope of ever seeing a dime from the loans even after depositing, like Abbson,

substantial funds with INBE through Messner in the form of ICA Payments that the borrowers

were fraudulently induced to make. The loan agreement with Abbson and, upon information and
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belief, those of the other victims of the fraud, contained commercially untenable terms which no

legitimate lender would have entered into. With respect to Abbson, the loan agreement provided

in one part that the terms of the loan were to be governed by Wyoming law, and in another part

that enforcement of the agreement was to be governed by the laws of "Western Australia." It is

readily apparent that NBE was a sham from inception, having no capital, no history, and no

ability to fund anything let alone extending millions of dollars in a loan that was promised to

Abbson and similarly to the other victims of this massive fraud.

       8.      ln orchestrating this massive fraudulent scheme, defendants truly merit the label

of "racketeers" as contemplated by the RICO law.

                                          THE PARTIES

       9.      Plaintiff BKNS Management LLC ("BKNS") is a New York limited liability

company with offices located at 400 Rella Boulevard, Montebello, New York 10901. BKNS is a

member of Abbson LLC, owning39Yo of its membership interests. BKNS brings this action

derivatively on behalf of Abbson LLC.

       10.     Abbson LLC ("Abbson") is a New York limited liability company with its

principal place of business located at 1325 Avenue of the Americas, 27h Floor, New York, New

York 10019. Abbson was engaged in the business of developing and creating podcasts.

       11.     Defendant Messner Reeves LLP ("Messner") is a limited liability partnership

engaged in the practice of law through its partners and attorneys practicing law in several states,

including Colorado, Nevada, Aizona, Utah, California, and New York.

       12. Upon information and belief, defendant Clearwater Premiere Perpetual Master
LLC ("Clearwater") is a shell limited liability company formed in May 2022 tnder the laws of
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Wyoming.

        13.    Defendant Jonathan Wright ("Wright") is an individual who, upon information

and belief, resides in Wyoming. During the relevant time period of this complaint, Wright was

the Chief Funding Officer of INBE Capital LLC ("INBE") and the person who signed the

Business Expansion Line of Credit Agreement (the "INBE Agreement") on behalf of INBE with

Abbson.

        14. Defendant Torben Welch ("Welch") is an individual who, upon information and
belief, resides in Utah and is an attorney and the managing parbrer of Messner's Utah office. All

actions taken by Welch as alleged below were undertaken under the auspices of Messner, using

the name of Messner, and are attributable to Messner, which failed to supervise Welch and did

not act to remedy the fraudulent activities of Welch when the nature of his transactions regarding

INBE began to be revealed.

        15.    Upon information and belief, defendant Titan Financial, LLC is a shell limited

liability company formed under the laws of Wyoming in November 2023.

                                 JURISDICTION AND VENUE

        16.    This court has original jurisdiction over this action pursuant to 28 U.S.C. $ 133 I

and 18 U.S.C. $ 1961, et seq., and supplemental jurisdiction over all state and common law

claims pursuant to 28 U.S.C. $ 1367, as those claims are so related to claims in this action within

the original jurisdiction of the Court that they form part of the same case and controversyunder

Article III of the United States Constitution.

        17. Venue is proper in the United States District Court for the Southern District of
New York, pursuant to 28 U.S.C. $ 1391(b), in that a substantial part of the events or omissions
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giving rise to these claims occurred in the Southern District of New York. kr addition, Messner

is subject to jurisdiction in this District because it practices law in the State of New York through

several of its partners. The other defendants are subject to jurisdiction in this District because

they transacted business on an ongoing basis and committed the unlawful and tortious acts in this

District described below causing harm to Abbson in this District.

                                 DERIVATIVE ALLEGATIONS

       18.     For many months prior to July 2024, BKNS, through its principal Brian

Khunovich, demanded that the other members of Abbson, its directors and/or officers, namely

Chad Abbott, Abbson's chief executive officer, and Igor Boldyrev, Abbson's chief financial

officer, take action against INBE to recover from INBE and those responsible the funds in the

form of the ICA Payment that Abbson had remitted to INBE based on the mistaken belief that by

making that payment Abbson would receive a needed $14 million loan. After much urging,

Abbot and Boldyrev finally sent a notice of termination to INBE and demanded the return of

Abbson's ICA Payment-to no avail. But Abbott and Boldyrev did nothing else to enforce

Abbson's rights in the matter.

        19. By email transmitted on July 8,2024 to Abbott and Boldyrev, who are the
individuals who managed the operations and affairs of Abbson, BKNS made a demand that they

cause Abbson to commence a lawsuit against the defendants and related parties and assert claims


under RICO and state law and common law. Messrs. Abbott and Boldyrev were also requested

to advise BKNS if they intended to commence such an action and if so when it would be

commenced.

        20.    Messrs. Abbott and Boldyrev had their attorney respond that the attorney would
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be filing such an action on behalf of Abbson, notwithstanding that the attorney had no authority

under an agreement between plaintiff and Abbson and others to do so without the consent of

BKNS. Nevertheless, no such lawsuit was filed. Therefore, BKNS commenced this action

derivatively on behalf of Abbson.

       21.        This action is not a collusive one to confer jurisdiction that the Court would

otherwise lack.

                      FACTS RELEVANT TO ALL CLAIMS FOR RELIEF

       22.        In May 2023, Abbson was seeking a substantial loan to fund Abbson's then

current operations and the expansion of its business. Abbson was informed by its financial

advisor, Jason Steinmetz of Menill Lynch Pierce Fenner & Smith, that a purported lender, INBE,

was in the business of making such loans. However, in order to obtain that financing, Abbson

would be required to remit a substantial deposit, which was represented to be for the purposes of

securing the payment to INBE of initial interest and other charges attendant to the loan. Abbson

was further advised that this deposit would be maintained in an escrow account so that the

advance payment by Abbson would be secure until the loan began to be funded.

        23.       [n June 2023,Abbson was further informed that it could obtain a loan in the

amount of $14 million from INBE, provided that it remit the interest reserve deposit (the "ICA

Payment") in the amount of $3.5 million.

        24.       On or about June 19, 2023,Abbson, as Borrower, entered into a Business

Expansion Line of Credit Agreement (the "INBE Agreement") with INBE, as Lender, with

respect to a prospective $14 million loan to Abbson from NBE. On or about June 27,2023,

Abbson caused to be wired the sum of $3.5 million to Messner as escrow agent for INBE, which
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Abbson believed and which the INBE Agreement indicated, would serve to secure the safety of

the ICA payment for Abbson.

The INBE Asreement

        25.    The INBE Agreement contained terms which with the benefit of hindsight

reflected its sham nature and its use as a device to extract money from Abbson and other

borrowers without any intention to create a true loan arrangement or for INBE to remit funds to

Abbson and its other unwitting victims.

       26.     For example, the terms of the INBE Agreement provide that INBE would not be

liable for its failure to fund the loan if it results from the failure of INBE's wholesale lender to

perform its obligation to INBE. In addition, there was no requirement for a personal guarantee

or collateral-which no responsible lender would ever agree to in light of the financial conditions

of the borrowers. The loan proceeds were to be made through a"LOC Disbursement Account"

held jointly in the name of Borrower and lrnder, but no such account was ever established by

INBE. The loan proceeds were to be used exclusively "for the purpose of financing the Project

Costs," but no such Project Costs were ever specified. Nor was the credit worthiness of Abbson

ever looked into. Funding of the loan was to commence "no later than ninety (90) calendar days .

. . following confirmation of receipt by the Lender of the ICA Payment," but funding was not

made by this 90 day deadline or anytime thereafter.

       27.     Significantly, Section 10.12 of the INBE Agreement provides the express

representation and warranty from INBE to Abbson that INBE "has the financial ability and

wherewithal to fully fund the LOC in the full amount. . . ." Further, INBE covenanted and

agreed that "it shall fully and timely fund each Advance requested by Borrower so long as no
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Event of Default has occurred . . . ." These representations and warranties were false when

made: INBE was a mere shell company having no financial ability or wherewithal to fund the

loan and it was never intended by defendants that INBE would provide any funding to Abbson.

       28.     Upon information and belief, other borrowers and victims of INBE had similar

provisions in their loan agreements with INBE.

       29.     The INBE Agreement provides further that upon INBE's failure to fund the loan,

Abbson could terminate the agreement and obtain a full refund of its ICA Payment. [n March

2024, after repeatedly requesting updates as to the required funding by INBE but getting nothing

in return, and at the continuous urging of BKNS, Abbson finally sent a Termination letter to

INBE to end this charade of a multi-million dollar loan and get back its ICA Payment. But not

one cent was ever repaid.

       30.     Exhibit F to the INBE Agreement contained instructions to Abbson that it wire the

ICA Payment in the amount of $3.5 million to be held "by a nominated Trustee (Attorney) for

the purpose of arranging for the issuance of a Loan (Line of Credit)." The instructions

designated Messner as the recipient of these trust funds and the wire was directed to Messner's

account at its bank in Chicago, Illinois. The instructions provide further that the ICA Payment

was to remain in escrow until INBE funded the loan. The instructions provide further that    "if
there is a conflict between these Instructions and the Proposed Loan, these lnstructions control."

       31.     Upon information and belief, similar terms were contained in the loan agreements

entered into between NBE and the other victims of defendants' fraudulent scheme.

       32.     Defendants promised for many months that it would make good on loans

committed to Abbson and other borrowers, but these were false promises designed to lull the
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victims into refraining from acting earlier to enforce their rights. These false promises of funding

gave defendants time to dissipate the funds taken from victims like Abbson.

The RICO Enterprise

         33.    Defendants other than Wright are currently the subject of another federal RICO

complaint alleging many of the same facts and claims as alleged in this lawsuit: Kosher Eats LLC

v. Messner Reeves LLP et al.,CaseNo.2:24-cv-05161 (U.S.D.C., Central Dist. of California)

(the "Kosher Eats Lawsuit). Messner and Welch are also the subject of RICO claims in another

federal case; Koslter Eats LLC et al. v. Torben Welch, et al., Case No. 2:24-cv-00520-DBP (D.

Utah).

         34.    Defendants Messner, Clearwater, Wright, Welch and Titan, and INBE constitute

an association-in-fact as a RICO Enterprise under 18 U.S.C. $ 1962(c), the purpose of which was

to defraud innocent corporate victims in need of cash for their operations. Through false

representations, the victims entered into loan alrangements with INBE that required the victims

to remit substantial sums to INBE (the "ICA Payment") just for the privilege of being able to

receive funds from INBE in the form of purported loans that in fact never materialized.

         35.    Upon information and belief, this illicit association began sometime in2022 and

the fraudulent scheme was realize d in 2023 through the appropriation and conversion of Abbson

and the other victims' funds in2023.

          36.   According to the complaint in the Kosher Eats LLC lawsuit mentioned above, the

genesis of this illicit enterprise is a building project, All Net Resort & Arena ("All Net"), an

arena in Las Vegas, promoted by a former college basketball player, Jackie Robinson

("Robinson"). Messner and Welch, as attomeys, represented All Net and Robinson in that


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endeavor. Messner and Welch also represented Clearwater, which became an equity partner in

the project. Clearwater represented that it maintained an office which in reality did not exist. All

Net turned out to be an abysmal financial failure and was insolvent. [n an attempt to salvage this

failed project, Messner and Welch conspired with Daniel Chartraw, a convicted felon, who had

pleaded guilty to felony wire fraud in connection with a fraudulent scheme to extract money from

a victim by having the victim pay a smaller amount in consideration for the promise to receive a


larger sum as a loan which never came to pass-similar to the fraudulent scheme perpetrated

against Abbson. The team of Messner, Welch and Chartraw then perpetrated a fraudulent bond

scheme to obtain financing for the failed All Net project. Clearwater's operations were run by

Chartraw. In connection with this latest part of the All Net scheme, Welch stated that Clearwater

had acquired rights to the Bond Certificate, which was purportedly to create project financing.

But the bonds were backed by worthless assets. These phony financing mechanisms were

employed by Messner, Welch, Clearwater and Chartraw to persuade the I-as Vegas Zoning

Commission to grant an extension of time to commence the All Net project construction.
                                                                                             To


obtain the needed financing for the Alt Net project, Messner and Welch disseminated misleading

statements to brokers in furtherance of the scheme.

        37. Because the bond financing scheme did not succeed, Messner and Welch
                                                                                       company
conspired to perpetrate yet another fraudulent scheme, through a newly formed shell

                                                                                            2022
INBE, to generate the revenue needed to salvage the All Net project which by September

had no viable means of raising financing.

        38.     On or about September 26,2022,INBE, a shell entity, was formed under

Wyoming law with the same address as Clearwater. As with Clearwater, Messner and Welch


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represented INBE. Upon information and belief, Messner and Welch were instrumental in the

establishment of INBE.

       39.     The purpose for the formation of INBE was to provide a mechanism that would

generate illicitly-obtained funds for the defendants through their operation of an illegal RICO

enterprise, comprised of an association in fact of Messner, Welch, Clearwater, Wright, Titan and

INBE. Defendants provided the structure through which the enterprise would operate.

       40.     The members of the enterprise had a unified purpose in mind in forming and

operating the RICO enterprise: to appropriate funds from unwitting corporate victims that were

experiencing severe financial difficulties and who believed they were remiffing funds to cover

advance interest charges in order to obtain loans in an amount four times that remitted to INBE,

and for defendants then to pocket those funds.

       41.     Each of the members of the RICO Enterprise had a definitive role in the

enterprise. INBE, the shell company estabtiJhed for the purpose as acting as a legitimate lender,

served as the purported lender in the fraudulent scheme. Upon information and belief, INBE was

controlled by defendants Messner, Welch and Wright.

        42. Messner and Welch, as attorneys, provided the imprimatur of legality with respect
to the fictitious loan transactions and their supposedly maintaining the ICA Payments sound and

secure in an unreachable attorney escrow account. These defendants acted as attorneys for INBE

as well as Clearwater. Upon information and belief, these defendants drafted the INBE


Agreement and related documents. And by their acting as counsel for INBE and Clearwater,

Messner and Welch sought to immunize their communications made in furtherance of the

fraudulent scheme under the umbrella of the attorney-client privilege. Messner and Welch


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sought to benefit monetarily from the illicit scheme, by sharing in the funds received from the

victims and never returned, and thereby obtaining payment for the attorneys' fees they had

charged but were not paid for in connection with the failed All Net matter.

       43.     Clearwater's role in the enterprise was to serve as a partner with INBE. It

formalized that relationship in a Joint Venture Partnership Agreement wit(fNgB dated on or

about April23, 2023. Defendants used Clearwater as the excuse which they communicated to

the victims for delayng the payment of the loan proceeds or not returning the ICA Payments.

For example, an email on December 15, 2023 fromINBE's counsel, Jason C. Aufdermaur,

stated: "Clearwater funds will be disbursed imminently to several parties." This was false. Mr-

Aufdermaur also stated that he was working with Messner and Clearwater "to determine an

appropriate process and required documentation" for purposes of the distribution of funds to the

borrowers (which never occurred). He expressed the false assurances of Clearwater as follows:

.,Clearwater's goal is to have funds available no later than Friday 12-22 (we have been told that


this is an outside date)." A11 of these assurances of payment through Clearwater were false and

designed to deceive the victims of the fraud into believing that they would have their money

returned-a false hope. Upon information and belief, each of the defendants had knowledp of

this email and its purpose, and approved its transmission.

        44. Wright's role in the enterprise was to execute the fake INBE loan agreements on
behalf of INBE as its "Chief Funding Officer." In that role, Wright knew that the promises,

                                                                                          false,
representations and warranties made by INBE in the INBE Agreements were absolutely

including the representations that INBE had the financial ability and wherewithal to provide the

funding and to make timely disbursements. Upon information and belief, Wright too sought to


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gain by his participation in the illegal RICO enterprise by sharing in the funds misappropriated

from the victims.

        45.    Titan is another Wyoming LLC set up by defendants. Titan's role came into play

when it became necessary for defendants to cover-up their fraudulent scheme. Thus, after some

of the victims of the fraud pursued Messner and Welch for the return of what they had been led

to believe was their escrowed money, Welch sent an email to counsel for Emerald Consulting

Partners on January 25,2024, one of the victims of the fraud, stating that the funds remained part

of the escrow under Messner's control at Titan. That was false. Titan is not a bank and could

not administer IOLTA accounts. The account was fraudulent. Each of the defendants knew of

the above false email and approved the transmission of it to Emerald Consulting Partners in an

effort to cover up defendants' fraudulent activities and deflect the inquiries of defendants.

        46. Defendants were able to lure their victims to a substantial extent by posting false
information on INBE's website, that imparted the fiction that INBE had billions of dollars in its

"investment pipeline" by Decemb er 2022. This information was false and was intentionally

posted by defendants to deceive and lure unwitting victims who were in dire need of financing

for their businesses. On December 3, 2022, about two months after INBE was formed, INBE's

website stated falsely that INBE had over $13 billion in a "rapidly growing global investment

pipeline" and the "capacity up to $50B per transaction." These statements were false; INBE had

little or no capitalization whatsoever. Upon information and belief, defendants, including

Messner and Welch, knew of and approved the false statements made on INBE's website, and

joined in the illicit effort to lure unwitting borrowers to part with their money.




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Predicate Acts and Other Victims of Defendants' Fraud

       47.        While Abbson appears to be the victim of defendants' fraudulent scheme with the

largest dollar amount lost by reason of the ICA Payment that was made and never returned,

Abbson is aware of at least the following additional victims of defendants' fraud: (l) Kosher Eats

LLC; (2) Emerald Consulting Partners; (3) MSC Companies,LLC; and (4) Konala, LLC.

       48. Defendants committed acts constituting the offense of wire fraud, 18 U.S.C. $
1343,inthat they devised a scheme to defraud Abbson and others and to obtain their moneyby

means of false or fraudulent pretenses; i.e., the fictitious loan arrangement. Defendants used the

wires to further the scheme in violation of 18 U'S.C. $ 1343.

        49. Thus, through fraudulent means, defendants caused to be transmitted to Messner's
attomey escrow or trust accounts by means of wire communications the following amounts on

the following dates from innocent victims of the fraud, ostensibly as ICA Payments that were

never returned:

                  (l)    $3,500,000 from Abbson on J:une 29,2023

                  (2)    $2,000,000 from Kosher Eats LLC on April27,2023

                  (3)    $700,000 from Emerald Consulting Partners, LLC on June 13,2023

                  (4)$l,l45,000fromMSCCompanies,LLConJune19,2023

                  (5)    $325,000 from Konala,LLC on August 1,2023

        50.       These wire deposits also were caused to be made by defendants in violation of 18

U.S.C. gg 2314 and2315 (transportation and receipt of stolen money), in that defendants caused

to be transported, and induced these victims to transport, money in interstate commerce, in the

execution of defendants' scheme to defraud the victims and convert their money knowing that it


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would not be returned to them.

       51.     Abbson caused $3.5 million to be wired into the Messner escrow or trust account

in reasonable reliance upon the false representations made in the INBE Agreement, including the

false representation and warranty that funding of the loan was to commence "no later than ninety

(90) calendar days . . . following confirmation of receipt" by INBE of the ICA Payment;" that

INBE "has the financial ability and wherewithal to fully fund the LOC in the full amount . . .;"

that INBE would "fully and timely fund each Advance requested by Borrower so long as no

Event of Default has occurred . . . ;" and that if INBE did not fund the loan, Abbson could

terminate the agreement and obtain a full refund of its ICA Payment. Further, the INBE

Agreement stated falsely that Abbson's $3.5 million ICA Payment would be "held by a

nominated Trustee (attorney)," which was Messner. None of those funds was held safe and

secure in a Messner escrow account. Each one of these promises, representations and warranties

was false when made and defendants, including Messner and Welch, knew they were false but

used them to fraudulently induce Abbson to part with its $3.5 million in furtherance of

defendants' scheme.

        52. Upon information and belief, the INBE Agreement-a device used by defendants
to lure Abbson and other victims to transmit their ICA payments which would never be returned

to them-and the false statements contained in the INBE Agreement, were transmitted by INBE to

Abbson in or about June 19, 2023,by means of the interstate wires or mail. Upon information

and belief, each of the other victims received its fraudulent INBE loan agreement from INBE

through the interstate mails or wires.

        53.    Upon information and belief, Abbson and the other victims of the fraudulent


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scheme were directed by INBE to return executed agreements or signature pages by the interstate

mails or wires, which they did.

         54.      Upon information and belief, the other victims of defendants' fraudulent scheme

similarly were induced to wire their ICA Payments based on similar false representations and

warranties contained in the fictitious loan agreements with INBE prepared by Messner and

Welch.

         55.      Messner and Welch were not acting simply as legal counsel rendering advice and

services to a client, i.e., INBE. Upon information and belief, Messner and Welch participated in

the establishment of INBE as a tool through which to obtain funds from unwitting borrowers in

need of financing and who had no means to obtain such from traditional, regulated lenders.

Upon information and belief, instead of holding the borrowers' ICA Payments, including

Abbson's $3.5 million ICA payment, in Messner's trust or escrow account in Chicago, Illinois

(in the case of Abbson) or in Colorado, Messner and Welch caused the funds to then be

transferred to an account in Wyoming. Upon information and belief, defendants, including

Messner and Welch, participated in the drafting of the INBE agreements knowing full well that it

contained false statements intended to lure the borrowers, including INBE, to part with their ICA

Payments.

         56.      Abbson's $3.5 million and, upon information and belief, the ICA Payments of the

other victims listed above, were never returned to them despite the demand that INBE do so.

         57   .   Each of the above acts of defendants affected interstate commerce and constitutes

a predicate act of racketeering ("wire fraud") under 18 U.S.C. $ 1962(c). Defendants ' use of the


wires was an essential part of the fraudulent scheme, and was the method bywhich the victims,


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like Abbson, would be immediately deprived of their money. It was defendants' intent to use

such wires to implement their fraudulent scheme.

       58.     The above acts of wire fraud were not isolated, were related as part of defendants'

scheme to defraud, and are part of a pattern of racketeering activity with the illicit goal of

defrauding companies in dire need of financing to part with their money based on their mistaken

belief that the needed loans would be obtained.

       59.     The conduct of defendants is ongoing and poses a continuing threat to the public,

and especially to other companies facing financial difficulties like Abbson.

              DEFENDANTS' DECEPTIVE COVER.UP FOR THEIR FRAUD

       60.      Having failed to fund Abbson's loan or even to return to Abbson its $3.5 million

ICA Payment, defendants then engaged in a months' long circuitous series of excuses designed to

stall Abbson from enforcing its rights to recover its funds, pretending that the loan would be

forthcoming. It never was. It was the intent of defendants to effectively play hide and seek by

passing the buck to other members of the fraudulent conspiracy, with each then disavowing

responsibility and leaving Abbson without recompense. None of the defendants committed to

returning Abbson's funds or to assume responsibility for the return of the funds.

                                  FIRST CLAIM FOR RELIEF
                              Violation of RICO. 18 U.S.C. $ 1962 (c)

        61. Plaintiff repeats and realleges each of the allegations contained in paragraphs l-60
above, as if fully set forth herein.

        62.     Each of the defendants violated 18 U.S.C. $ 1962 (c) by engaging in the conduct

of an enterprise, an association-in-fact comprised of Messner, Welch, Clearwater, Wright, Titan



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and INBE, through a pattern of racketeering activity.

       63.     Each of the defendants is a "person" as defined in 18 U.S.C. $ 1961(3).

       64.     The defendants and INBE constituted an ongoing association in fact, i.e., the

"enterprise, which is an enterprise as defined in 18 U.S.C. $ 1961(4), with a decision-making

framework or mechanism for controlling the association. The members of the enterprise had and

have a common purpose and function as a continuing unit. The enterprise is separate and apart

from the pattern of racketeering activity complained of herein.

       65.     Each member of the RICO Enterprise has participated directly or indirectly in the

conduct, operation or management of the affairs of the enterprise through a pattern of

racketeering activity, within the meaning of 18 U.S.C. $ 1961(1), that was directed at the

business and property of Abbson and the other victims of defendants' fraudulent scheme since

about May 2022 through the date hereof. The illicit actions of defendants described above are

ongoing and continuing.

       66. In fact, defendants' fraudulent scheme continues to today. INBE's website,
https://theinbegroup.com/, on December 3, 2022, contains many false statements designed to

continue to lure new borrowers into entering into fictitious loan alrangements with INBE,

including the false statements that "your original principal investment is always safe. . . . Your

funds are secured and insured within an audited and SEC registered vehicle. We take on the risk

by using our own collateralized assets for deal structuring and deployrnent." The same false

statements appeared as late as November 6,2024 on INBE's website.

       67.     Upon information and belief, Messner and Welch, the architects of the INBE

fraudulent setup, knew of and approved of these false statements, knowing full well that they


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were false and that unwitting borrowers-new victims-would thus be lured to part with their

funds in the anticipation of obtaining loans in amounts that were many times the amount of their

ICA Payments.

       68.      The foregoing predicate acts of mail and wire fraud, and interstate transportation

of stolen money, in violation of l8 U.S.C. $$ l34l and 1343, and l8 U.S.C. $$ 2314 and23l5,

were largely dependent on their relatedness and continuity, and embraced criminal acts that have

the same or similar purposes, results, participants, victims, and methods of commission. The

predicate acts are interrelated by their distinguishing characteristics that render such acts not to

be isolated or sporadic events, but rather conduct that was ongoing and continuing since May

2022 in furtherance of defendants' goal of extracting millions of dollars from companies in dire

financial straits under false and fraudulent pretenses, and amount to or pose a continuing threat of

indefinite duration, that is, of similar criminal activity in the future, as a regular and standard way

of conducting the business of the enterprise.

        69. All of the defendants, as members of the RICO Enterprise, were willing
participants in the various schemes and artifices to defraud Abbson and the other victims

identified above, in different capacities, functions and roles calculated to enrich the enterprise

and in the desire to continue to perpetuate such schemes and artifices for as long as possible and

to commit similar fraudulent schemes against other companies in dire need of funds for the

continued operation of their businesses.

        70.     Upon information and belief, the governance of the RICO Enterprise was effected

though frequent communications among its members and the victims of the fraud by means of

interstate mail and wire communications, thereby affecting interstate commerce within the


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meaning of 18 U.S.C. $ 1962 (c). The extent of such wire communications made in violation of

RICO should be revealed after further investigation and discovery in this action.

        71.    The multiple acts of mail and wire fraud and interstate transportation of money

committed in furtherance of the fraudulent scheme form a pattern of racketeeringactivity in

violation of RICO, comprise repeated criminal conduct, and are related to one another as part of a

common criminal plan to perpetrate the scheme to defraud Abbson and the other victims

identified above and as yet other unidentified victims, and to enrich the RICO Enterprise. The

predicate acts have the same purpose, result, participants and methods of commission, and are

not isolated events.

       72.     The predicate acts of racketeering are also related to each other as a result of each

defendant's position in the RICO enterprise or its involvement in or control over the enterprise's

affairs, and all relate to the activities of the RICO enterprise. Each of the defendants coordinated

with each other the various steps in the fraudulent scheme that were necessary in order to succeed

in the implementation of the fraudulent scheme.

       73.     This repeated conduct of racketeering activity is ongoing and continuous, and

amounts to or poses a continuing threat of indefinite duration that is of similar criminal activity

in the future, as a regular and standard way of conducting the RICO enterprise's business. The

RICO enterprise poses the threat of continuing to plunder and retain substantial funds belonging

to victims of the fraudulent scheme.

       74.     Each defendant's violation of RICO was both a "but-for" and "proximate cause"

of Abbson's injury. Abbson relied on the representations, promises and warranties made by

defendants in the INBE Agreement, whose representations, promises and warranties were false,


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and defendants knew they were false when made.

        75.      Such reliance by Abbson was reasonable and justified under the circumstances.

        76.      As a direct and proximate result of defendants' violation of 18 U.S.C. $ 1962 (c),

Abbson has been injured in its business and property and has suffered damages in a sum not yet

determined but not less than $3.5 million.

        77   .   As a result, Abbson is entitled to recover from defendants, jointly and severally,

compensatory damages plus prejudgment interest, treble damages, the cost of bringing suit, and

reasonable attorneys' fees.

                                SECOND CLAIM FOR RELIEF
                              RICO Conspiracy. 18 U.S.C. $ 1962(d)

        78.      Plaintiff repeats and realleges each of the allegations contained in paragraphs 1-77

above, as if fully set forth herein.

        79.      Defendants entered into a series of agreements between and among each other to

engage in a conspiracy to violate 18 U.S.C. $ 1962 (c). Each defendant entered into at least one


agreement with at least one other defendant to join the conspiracy, took acts in furtherance of the

conspiracy, and knowingly participated in the conspiracy.

        80.      Defendants agreed and conspired to violate 18 U.S.C. $ 1962 (c) by participating,

directly or indirectly, in the conduct of the affairs of the RICO enterprise through a pattern of

racketeering activity, including an agreement that the conspirators, or one of them, would commit

or cause the commission of two or more racketeering acts constifuting such a pattern.

        81.      By engaging in the overt acts and other conduct alleged herein, defendants have

agreed to conspire and did conspire in violation of 18 U.S.C. $ 1962(d) to engage in illegal




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predicate acts that formed a pattem of racketeering activity as defined by I 8 U.S.C. $ 1961(5),

and otherwise agreed to violate l8 U.S.C. $ 1962 (c).

        82.     Each of the defendants is a member of the RICO enterprise and each conspired to

perpetrate the illegal scheme.

       83.      As co-conspirators, defendants are liable for all of the actions committed by all of

the co-conspirators within the conspiracy, and are liable for all of the damages sustained by

Abbson that were caused by any members of the conspiracy, regardless of whether defendants

were themselves directly involved in a particular aspect of the RICO enterprise.

       84.      As a direct and proximate result of defendants' misconduct as alleged above,

Abbson has been injured in its business and property and has suffered damages in a sum not yet

determined but not less than $3.5 million.

        85.     As a result, Abbson is entitled to recover from defendants, jointly and severally,

compensatory damages plus prejudgment interest, treble damages, the cost of bringing suit, and

reasonable attorneys' fees.

                              THIRD CLAIM FOR RELIEF
        Conversion and Aiding  and Abetting Conversion against Messner and Welch

        86.     Plaintiff repeats and realleges each of the allegations contained in paragraphs 1-77

above, as if fully set forth herein.

        87.     Messner assumed possession of the $3.5 million transmitted by Abbson for the

ICA Payment in connection with the purported loan from INBE-

        88.     Abbson sent notice of the termination of the INBE Agreement and made a

demand for the return of its $3.5 million deposit that was supposed to have been held in escrow




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or in trust by Messner.

       89.     Messner has refused to return the $3.5 million to Abbson and prevented Abbson

from receiving the return of its $3.5 million deposit.

       90.     The ICA deposit payment was property of Abbson.

       91.     Messner refused to cause the retum to Abbson of its $3.5 million, in furtherance

of the fraudulent scheme perpetrated by defendants against Abbson, as described above.

        92.    As alleged above, Messner knew that the INBE loan would never be funded and

assumed possession of Abbson's $3.5 million with the intent of dissipating those funds and

preventing its retum to Abbson.

        93.    Messner exercised dominion and control over the $3.5 million and converted the

funds for the illicit purposes of defendants.

        94.    Welch, as a managing partner of Messner and participant in the fraudulent scheme

perpetrated against Abbson, participated actively in the unlawful conversion of Abbson's funds

and caused Messner to convert Abbson's funds, and aided and abetted Messner in the conversion

of Abbson's funds.

        95.    As a direct and proximate result of the conversion of the funds, plaintiff has

suffered damages in the amount of $3.5 million for all of which Messner and Welch are jointly

and severally liable.

        96.    By reason of the foregoing, in addition to compensatory damages, Messner and

Welch should each be liable to pay punitive damages in the sum of at least $5,000,000, so as to

deter them and others similarly inclined from perpetrating in the future such acts of misconduct

as were committed by them against plaintiff.



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                                FOURTH CLAIM FOR RELIEF
                              Fraud and Aidins and Abetting Fraud

        97   .   Plaintiff repeats and realleges each of the allegations contained in paragraphs 1-96

above, as if fully set forth herein.

        98.      Messner made false representations and promises in connection with the INBE

Agreement that Messner would be holding Abbson's $3.5 million deposit as an ICA Payment in

escrow or in trust for Abbson.

        99.      When Messner made the representations and promises that were included in the

INBE Agreement, Messner knew they were false, knew they would be communicated to Abbson,

and knew that Abbson was relying on the representations and promises. Messner made the

representations and promises with the intent to defraud Abbson and lure Abbson to make the

ICA Payment as part of the fraudulent scheme described above.

        100. Abbson relied on Messner's representations and promises that were
communicated to Abbson through the INBE Agreement. The representations and promises were

material to Abbson's decision to make the ICA Payment and enter into the INBE Agreement,

and Abbson would not have made the $3.5 million deposit but for such false representations and

promises.

        101. Abbson's reliance was reasonable and justifiable under the circumstances.
        102. When Abbson made the $3.5 million ICA Payment, it had no knowledge that
Messner and the other defendants were engaged in a fraudulent scheme to induce Abbson to part

with its funds, as described above.

        103. The other defendants aided and abetted Messner in the fraud with knowledge of


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the fraud and by their active participation in the fraud.

        104. As a direct and proximate result of the fraud perpetrated bydefendants against
Abbson, plaintiff has suffered damages in the amount of $3.5 million for all of which defendants

are jointly and severally liable.


        105. By reason of the foregoing, in addition to compensatory damages, defendants
should each be liable to pay punitive damages in the sum of at least $5,000,000, so as to deter

them and others similarly inclined from perpetrating in the future such acts of misconduct as

were committed by them against plaintiff.

                                    FIFTH CLAIM FOR RELIEF
                                       Negligence against Messner

        106. Plaintiff repeats and realleges each of the allegations contained in paragraphs 1-46
above, as if fully set forth herein.

        107. As holder of the escrow money sent by Abbson in the form of the ICA Payment,
and in performing its duties as the escrow agent, Messner was obligated to use the ordinary skill,

and care in carrying out its duties that are commensurate with the standard of care that escrow

agents, and especially attorneys at law, are required to exercise in similar circumstances.

        108. As the holder of the trust or escrow funds of $3.5 million sent by Abbson as an
ICA Payment, Messner was obligated to hold Abbson's $3.5 million in Messner's "sole

possession and control" and to exercise such skill and care in preserving the trust or escrow

funds, maintaining the safety and security of the funds, and ensuring that the purposes for which

the escrow or trust was established are carried out.

        109. In serving as escrow agent regarding the $3.5 million ICA Payment remitted by


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Abbson, Messner negligently breached its duty of care and the related duties it had as escrow

agent.


          110. [n negligent breach of its duties owed to Abbson, Messner transferred the $3.5
million out of its sole possession and control.

          111. The loss of Abbson's $3.5 million ICA deposit was a proximate and foreseeable
result of Messner's breach of its duties as escrow agent.

          ll2.   But for Messner serving as escrow agent for the ICA Payment, Abbson would not

have remitted the ICA Payment.

          113. As a proximate and foreseeable result of Messner's negligence, Abbson sustained
damages in the amount of at least $3.5 million.

         WHEREFORE, plaintiff requests judgment as follows:

         A.      On the First Claim for Relief, awarding plaintiff compensatory damages against

                 defendants, jointly and severally, in the amount of $3,500,000, trebled to

                 $10,500,000, plus plaintiff s reasonable attorneys' fees and prejudgment interest;

         B.      On the Second Claim for Relief, awarding plaintiff compensatory damages against

                 defendants, jointly and severally, in the amount of $3,500,000, trebled to

                 $10,500,000, plus plaintiff s reasonable attorneys' fees and prejudgment interest;

         C.      On the Third Claim for Relief, awarding plaintiff compensatory damages against

                 defendants Messner and Welch, jointly and severally, in the amount of

                 $3,500,000, plus prejudgment interest and punitive damages against each of

                 Messner and Welch in the amount of at least $5,000,000, the precise amount to be

                 determined at trial;


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      D.      On the Fourth Claim for Relief, awarding plaintiff compensatory damages against

              defendants, jointly and severally, in the amount of at least $3,500,000, the precise

              amount to be determined at trial, plus punitive damages against each defendant in

              the amount of at least $5,000,000, the precise amount to be determined at trial;

      E.      On the Fifth Claim for Relief, awarding plaintiff compensatory damages against

              Messner in the amount of at least $3,500,000, the precise amount to be

              determined at trial;

      F.      Awarding plaintiff its costs and disbursements of this action; and

      G.      Granting plaintiff such other and further relief as the Court deems just and proper.

Dated: New York, New York
       November 7,2024
                                             STAHL & ZELMANOYITZ
                                             A tt orn ey s fo r P I aint iff


                                              By,    H rf
                                                      Joseph Zelmanovitz (JZ 0085)
                                             747 ThirdAvenue, Suite 33B
                                             New York, New York 10017
                                             (2t2) 826-6422
                                             Jze I manov itz@szlawllp. c o m


                                       JURY DEMAND

      Plaintiff demands a trial by jury on all claims.

Dated: New York, New York                    STAHL & ZELMANOYITZ
       November 7,2024                       A t t o rn eys fo r P I a i n t iff


                                              By,    i%:'F
                                                      Joseph Zelmanovitz (JZ 008 5)
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                                                 VERIFICATION


    STATEE OF NEW YORK )
                                     SS.:


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               Brian Khunovich, being first duly sworn, deposes and says:

               I am the sole member of BKNS Management LLC ("BKNS"), the plaintiff bringing this

    derivative action to enforce a right that Abbson LLC may properly assert but has failed to

    enforce. BKNS was a member of Abbson LLC atthe time of the transactions complained of in

    the foregoing Amended Complaint, owning 39% of its membership interests. I have read the

    foregoing Amended Complaint and know the contents thereof. The sarre are true to my own

    knowledge, except for such statements made on information and belief, and as to those I believe

    them to be true.




                                                 f            f/'
                                                Brian Khunovich

    Swom to before me this

    7'h day of Novemb er, 2024.



          kLu
    Notary Public



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